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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
11     SIRLASIE RAYSHON CURRY,                )     NO. CV 17-6417-GW (AGR)
                                              )
12                          Petitioner,       )
                                              )     JUDGMENT
13         v.                                 )
                                              )
14     SHAWN HATTON, Warden,                  )
                                              )
15                          Respondent.       )
                                              )
16
17              Pursuant to the Order Accepting Findings and Recommendation of United
18     States Magistrate Judge,
19              IT IS ADJUDGED that the Petition For Writ of Habeas Corpus in this matter is
20     denied and dismissed with prejudice.
21
22     DATED: September 29, 2021              __________________________________
                                                        GEORGE H. WU
23                                                   United States District Judge
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